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IN THE UNITED sTATEs DISTRICT coURT W_ED Ew div mg
FoR THE wEsTERN DISTRICT oF TENNESSEE '°""“"
wEsTERN DIVISION ‘ .

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wILLIAM s. PRIDDY, w Q$'§ ::z?{

Plaintiff,

vs. No. 03-2664 D/P
FEDERAL EXPRESS CORPORATION
AND DONNA NOEL, INDIVIDUALLY
AND AS AGENT FOR FEDERAL
EXPRESS CORPORATION,

Defendants.

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ORDER FOLLOWING HEARING GRANTING IN PART PLAINTIFF'S MOTION TO
COMPEL PRODUCTION OF DOCUMENTS AND DENYING AS MOOT PLAINTIFF’S
MOTION TO COMPEL PRODUCTION OF DONNA NOEL

 

Before the court is plaintiff’s Motion to Compel Production of
Documents (dkt #35) and plaintiff’s Motion to Compel Production of

Donna Noel (dkt #36), both filed on June l, 2005. On June 3, 2005,

defendant Federal Express Corporation (“Fed EX”) filed its
response. On June 15, 2005, the court held a hearing on both
motions. Counsel for all interested parties were present and

heard. At the hearing, the parties informed the court that since
the filing of these motions, the parties have completed the
deposition of Donna Noel, and therefore that particular motion was

now moot. Moreover, the parties had engaged in further discussions

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regarding the disputed document production, and were able to
resolve their disputes with respect to document requests 5, 6, 7,
9, and 10.

With respect to document request numbers l, 3, and 4, the
court ruling from the bench GRANTED in part the motion to compel.
Specifically, regarding document request number l, which seeks
production of all lawsuits against Fed Ex and Donna Noel in the
Mid-South area (defined, by plaintiff as Tennessee, Kentucky,
Arkansas, Mississippi, Missouri, and Alabama), the court concluded
that the request as drafted was overly broad and sought information
that was not relevant to this lawsuit. Instead, the court ordered
Fed Ex to produce (l) copies of any federal and state complaints
filed in the Memphis area against Fed Ex as a named defendant, for
the period of January 2000 to the date that this lawsuit was filedr
for lawsuits that involve claims of employment discrimination based
on disability and race; and (2) copies of any federal and state
complaints filed in Tennessee, Alabama, and North Carolina, for the
time period of January 1999 to the present, in which Donna Noel was
a named defendant in the action or was alleged to have been the Fed
Ex. employee responsible for the discriminatory act, and. which
involve allegations of employment discrimination based on
disability and race.

Regarding document request number 3, the plaintiff asks for
“all documentation of any GFT claim in which Donna Noel as manager,

employee or witness was involved including, but not limited to

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initial filing, investigation and outcome.” The court found that
the request as drafted was overly broad and sought irrelevant
information. The court ordered. Fed Ex to produce documents
relating to any GFT claim in which Donna Noel was the manager at
Fed EX accused of the discriminatory action, for the time period
from 1999 to the present, involving discrimination allegations
based on disability and race.

Regarding document request number' 4, the plaintiff seeks
personnel files for various Fed EX employees.1 The court granted
the motion with respect to the personnel files for Donna Noel and
Gwen Byrd, and ordered the personnel files to be produced for these
two employees. Prior to production, Fed Ex may redact sensitive or
confidential information contained in the personnel files that have
no relevance to this lawsuit (e.g. social security numbers, medical
and insurance matters, etc.). The court denied the motion with
respect to the other Fed Ex employees, as these personnel files are
not relevant to the claims or defenses in this lawsuit.2

Finally, at the conclusion of the hearing, the court took

under advisement document request number 2, which asks for “all

 

1Fed Ex previously agreed to produce personnel files for
Gwen Scott, Donna Noel, and Jeff Werner; however, the plaintiff
informed Fed Ex that he no longer wanted the personnel files for
Scott and Werner.

2Fed Ex only needs to produce the personnel files for these
two employees as they are kept in the usual course of business
(subject to redactions}. Other documents that are not maintained
by Fed Ex in its personnel files need not be produced.

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internal EEOC documents related to any internal EEOC claim filed
which Donna Noel was a manager, employee, or witness.” Fed Ex
asserts that these documents are protected by the attorney-client
privilege and work product doctrine, because the internal
investigations are conducted at the direction of in-house counsel.
Fed Ex also contends that the time period, which spans the twelves
years that Noel has been employed with Fed Ex, is overly broad. In
response, the plaintiff states that he would agree to limit his
request to the last seven years.

Federal Rule of Civil Procedure 26(b)(1) allows discovery
“regarding any matter, not privileged, which is relevant to the
subject matter involved in the pending action . . . .”
Fed.R.Civ.P. 26(b)(1). The information sought need not be
admissible in court in order to be relevant. Rather, the relevance
burden is met if the party can show that the information sought
“appears reasonably calculated to lead to the discovery of
admissible evidence.” ld* Since Fed Ex has objected to producing
the documents on relevance grounds, the burden is on the plaintiff
to demonstrate that the request is relevant to the subject matter
involved in the pending action. Allen v. Howmedica Leibinger, 190
F.R.D. 518, 522 (W.D. Tenn. 1999) (citing Andritz-Sprout-Bauer.
Inc. v. Beazer East, lnc., 174 F.R.D. 609, 631 (M.D. Pa. 1997));
see also Cash Today of Texas, Inc. v. Greenberg, No. 02-MC-77, 2002
WL 31414138, at *1 (D. Del. Oct. 23, 2002)(unpublished). “The

party seeking discovery must be able to ‘articulate the possible

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linkage between the discovery sought and admissible evidence.’” ld;
(quoting 7 Moore's Federal Practice § 37.22[2][3]).

The court concludes that the plaintiff has not carried his
burden of demonstrating that this particular discovery request, as
drafted, seeks information that is relevant to the lawsuit. The
request seeks all internal EEOC documents that relate to Donna
Noel, whether she was a manager, employee or witness. Although the
court finds that Fed Ex’s internal investigation of the plaintiff's
discrimination claims that are at issue in this lawsuit are
certainly relevant, the plaintiff has not sufficiently demonstrated
why other internal EEOC investigations involving Noel are relevant.

With respect to the internal investigation involving Noel in
this case, Fed Ex asserts that these records are protected by the
attorney-client privilege and work product doctrine. However, in
its responses to plaintiff's request for production of documents,
its response to plaintiff's motion to compel, and at the June 15
hearing, Fed EX did not provide any further support for its
privilege arguments other than a general assertion that the
investigation materials are privileged and work product.

Fed EX carries the burden of demonstrating that the internal
investigation records relating to the allegations in this lawsuit
are protected by the attorney-client privilege or work product
doctrine. See In re Columbia/HCA Healthcare Corp. Billing
Practices Litigation, 293 F.3d_ 289, 294 (6th Cir. 2002)(party

asserting privilege carries the burden of establishing the

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existence of privilege). Thus, in order to make this
determination, the court hereby orders Fed Ex to file a
supplemental brief, along with a privilege log and appropriate
affidavits, relating to the internal investigation of the
plaintiff's claims against Noel at issue in this lawsuit, by no
later than July 22, 2005. The plaintiff shall file his response,
if any, by July 29, 2005.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

 

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Date

 

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ESSEE

 

Christopher J. Yost

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building ]3.

1\/1emphis7 TN 38125--880

Mary Helen Beard
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building ]3.
1\/1emphis7 TN 38125--880

Gregory D. Cotton
COTTON LAW FIRM
6263 Poplar Avenue
Ste. 1032

1\/1emphis7 TN 38119

James W. Hodges
HODGES & HODGES
5100 Poplar Avenue
Ste. 6 1 0

1\/1emphis7 TN 38137

Richard S. McConnell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building ]3.
1\/1emphis7 TN 38125--880

.1 ames R. Mulroy

LEWIS FISHER HENDERSON & CLAXTON, LLP
6410 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38119

Honorable Bernice Donald
US DISTRICT COURT

